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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  SYLVIA JAMES,

              Plaintiff,                             Case No. 12-10273

                                                     Paul D. Borman
                                                     United States District Judge
  v.
                                                     R. Steven Whalen
  PAMELA ANDERSON, an                                United States Magistrate Judge
  individual, DEBORAH GREEN, an
  individual, PAUL FISCHER, an individual
  and Executive Director of the Judicial Tenure
  Commission, the JUDICIAL TENURE
  COMMISSION, and VALDEMAR
  WASHINGTON, an individual,

            Defendants.
  ______________________________________/

  OPINION AND ORDER GRANTING DEFENDANT PAMELA ANDERSON’S
          MOTION FOR SUMMARY JUDGMENT (ECF NO. 132)

        This case, reassigned to this Court in February, 2015, from the Honorable

  Lawrence P. Zatkoff by Administrative Order, is before the Court on remand from the

  Sixth Circuit to consider the claims of Judge Sylvia James, a female African-

  American former state court judge, that Defendants violated her Fourth and

  Fourteenth Amendment rights when they conducted a search of her office and

  personal safe and instituted proceedings that resulted in her removal from office by


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  the Michigan Supreme Court based upon alleged misconduct in her role as a judge of

  the 22nd District Court of the State of Michigan.1

        On September 2, 2015, this Court issued an Opinion and Order granting

  Defendants Jones, Hampton, and the City of Inkster’s motions to dismiss and denying

  Defendant Anderson’s motion to dismiss.2 James v. Hampton, No. 12-10273, 2015

  WL 5159332 (E.D. Mich. Sept. 2, 2015). Now before the Court is Defendant Pamela


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    Following the Sixth Circuit’s remand, there are only two specifically defined
  remaining claims, both asserted under 42 U.S.C. § 1983, alleging: (1) a Fourth
  Amendment violation stemming from an alleged search of Plaintiff’s personal safe
  and (2) a Fourteenth Amendment equal protection violation based upon the alleged
  conduct of certain Defendants in declining to recommend the discipline of several
  white and/or male Michigan state court judges who also engaged in judicial
  misconduct. James v. Hampton, 592 F. App’x 449, 451 (6th Cir. 2015). Only the
  Fourth Amendment claim is at issue in this motion filed by Defendant Anderson.
  Anderson is not implicated in the equal protection claim, which is the subject of
  motions filed by the other remaining Defendants and will be addressed in a separate
  Opinion and Order.
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   Although the Sixth Circuit concluded that Plaintiff did plead a plausible Fourth
  Amendment claim, the remand was not entirely clear as to which Defendants
  specifically were implicated by which of the Plaintiff’s allegations. In fact, in
  response to Jones, Hampton, and the City of Inkster’s motion to dismiss following
  remand, Plaintiff conceded that she did not intend to assert a Fourth Amendment
  claim against these Defendants and was no longer pursuing claims against Jones,
  Hampton, or the City of Inkster following the Sixth Circuit’s ruling and remand.
  James, 2015 WL 5159332, at *5. Defendant Anderson’s motion to dismiss following
  remand was based on her claim that Plaintiff failed to specifically allege Anderson’s
  personal involvement in the allegedly unconstitutional search. This Court disagreed
  and denied Anderson’s motion to dismiss. Anderson now files her motion for
  summary judgment on Plaintiff’s sole remaining claim against her for an alleged
  unconstitutional search of Plaintiff’s safe.
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  Anderson’s motion for summary judgment.3 (ECF No. 132.) Plaintiff filed a

  Response (ECF No. 140) and Defendant filed a Reply (ECF No. 144). The Court held

  a hearing on August 27, 2018, For the reasons that follow, the Court GRANTS

  Anderson’s motion for summary judgment.

  I.    BACKGROUND

        A.     Procedural Background

        As this Court summarized in its September 2, 2015 Opinion and Order, this is

  the second remand of this action from the Sixth Circuit; the first followed Plaintiff’s

  appeal of Judge Zatkoff’s April 2, 2012 decision to abstain and dismiss this action

  under Younger v. Harris, 401 U.S. 37 (1971), pending the outcome of the state court

  administrative proceedings that were then in progress against Judge James. In the first

  remand, the Sixth Circuit held that while Younger abstention was appropriate, Judge

  Zatkoff should have stayed the case pending the outcome of the state court

  administrative proceedings rather than dismiss, in order to avoid Plaintiff’s

  encountering any statute of limitations issues following the state court administrative



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   The remaining Defendants – Deborah Green, Paul Fischer, Valdemar Washington,
  and the Judicial Tenure Commission – did not move to dismiss following remand but,
  as discussed supra in footnote 1, have also filed motions for summary judgment that
  will be addressed in a separate Opinion and Order. Those Defendants face both Fourth
  Amendment and equal protection claims, as remanded by the Sixth Circuit. Defendant
  Anderson faces only a Fourth Amendment claim.
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  process. James v. Hampton, 513 F. App’x 471 (6th Cir. 2013). Upon final resolution

  of the state administrative proceedings against Judge James, which found sufficient

  evidence of misconduct to remove her from office, Judge Zatkoff entertained and

  granted the Inkster and State Defendants’ motions to dismiss James’s Fourth

  Amendment unlawful search and Fourteenth Amendment equal protection claims for

  failure to state a claim and declined to exercise supplemental jurisdiction over James’s

  state law claims. James v. Hampton, No. 12-10273, 2013 WL 6839136 (E.D. Mich.

  Dec. 27, 2013). Plaintiff again appealed Judge Zatkoff’s dismissal of her claims and

  the Sixth Circuit again reversed, remanding for further proceedings that are now

  before this Court. James v. Hampton, 592 F. App’x 449 (6th Cir. 2015).

        In its September 2, 2015 Opinion and Order, this Court discussed at length the

  Sixth Circuit’s January 7, 2015 decision reversing Judge Zatkoff’s dismissal of

  Plaintiff’s claims and remanding the matter to this Court, which was reassigned this

  case pursuant to administrative order. As relevant here, and as stated in this Court’s

  previous Opinion and Order, the Sixth Circuit concluded that Plaintiff did plausibly

  plead a Fourth Amendment claim based upon allegations of the warrantless search of

  the safe that James kept in her office at the 22nd District Court. 592 F. App’x at 459

  (“[W]e find that James has stated a claim that the search of her locked personal safe

  was unreasonable [and] reverse the district court’s dismissal of James’s Fourth


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  Amendment claim.”). The Sixth Circuit also found that Plaintiff plausibly alleged an

  equal protection claim against certain Defendants, but not against Defendant

  Anderson. 592 F. App’x at 461 (“[W]e reverse the dismissal of James’s equal

  protection claim as to the State Defendants and remand for further proceedings.

  Because James has not alleged an equal protection claim against the Inkster

  Defendants [including Anderson], on remand the district court need only consider this

  claim against the State Defendants.”).

        Examining James’s Fourth Amendment claim under the special needs exception

  for workplace searches enunciated by the Supreme Court in O’Connor v. Ortega, 480

  U.S. 709 (1987), the Sixth Circuit concluded that James had a reasonable expectation

  of privacy in both her office and her locked safe. In so holding, the Sixth Circuit

  noted (1) that there were no office regulations or policies regarding routine or random

  searches or employer access that would have diminished James’s reasonable

  expectation of privacy, (2) James kept personal belongings in the safe, (3) James

  secured the safe with two locks and there was no evidence that any one else had access

  to the safe, (4) James purchased the safe with her own funds, and (5) James

  maintained the safe for her exclusive use. 592 F. App’x at 456. Having found that

  James had a reasonable expectation of privacy in her office and safe, the Sixth Circuit

  then analyzed the reasonableness of the search of the office and the safe separately,


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  considering the two-prong “special needs” workplace exception established in

  O’Connor which asks: (1) was the search reasonable at its inception, i.e. were there

  reasonable grounds to suspect that the search would turn up evidence that the

  employee is guilty of workplace misconduct, and (2) was the search reasonable in

  scope, i.e. were the measures adopted reasonably related to the objectives of the search

  and not excessively intrusive given the nature of the misconduct. O’Connor, 480 U.S.

  at 726.

        As a preliminary matter, the Sixth Circuit analyzed whether James’s office and

  her personal safe were part of “the workplace context,” such that analysis under

  O’Connor was even appropriate. 592 F. App’x at 456. Judge Cole’s “majority”

  opinion concluded that James’s office was part of the “workplace context,” but that

  James’s personal safe, which the court determined was “analogous to a piece of closed

  personal luggage or a briefcase because it was not within the employer’s control,” was

  not properly considered part of the workplace context and concluded that “the

  warrantless search of the safe falls outside the bounds of the special needs exception

  to the warrant requirement altogether.” Id. at 457. The Sixth Circuit concluded that

  because the safe fell outside the workplace context, it was subject to the general

  warrant and probable cause requirement under the Fourth Amendment, and held that

  Plaintiff’s Complaint adequately alleged a Fourth Amendment claim for the


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  warrantless search of her safe: “The complaint states that the safe was searched absent

  a warrant, probable cause, or exception. These allegations sufficiently state an illegal

  search claim under the Fourth Amendment.” Id.4

        The Sixth Circuit then analyzed the search of both the office and the safe

  (assuming arguendo as to the safe that it did fall within the workplace context) under

  the O’Connor workplace exception for reasonableness at inception and in scope. Id.

  at 457. The Sixth Circuit concluded that the search of James’s office space was

  reasonable at its inception because there were “‘reasonable grounds’ for suspecting

  that a search of James’s office would yield evidence that James was ‘guilty of work-

  related misconduct.’” 592 F. App’x at 458 (quoting O’Connor, 480 U.S. at 726). The

  Sixth Circuit also concluded that a thorough search of James’s office proper, an area



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    Judge Batchelder dissented, finding untenable the majority’s assumption that a safe
  is more analogous to a portable, lightweight briefcase or piece of luggage than the
  more permanent office fixtures of a desk or filing cabinet. “By contrast [to a briefcase
  or piece of luggage], few employees, if any, lug a safe to and from work each day.”
  592 F. App’x at 468. Batchelder would apply the O’Connor special needs exception
  for the workplace to both the office and the safe and would conclude that the search
  of both the office and the safe was reasonable, both at inception and in scope, and
  would affirm Judge Zatkoff. Judge Keith, concurring in part and dissenting in part,
  concluded that both “the alleged search of the office and safe were unconstitutional”
  and “unreasonable at [] inception” because, in his view, the allegations of the
  Complaint (given the presumption of truth to which they were entitled) suggested an
  illegitimate purpose behind the search and did not suggest a reasonable inference that
  Plaintiff was guilty of workplace misconduct. 592 F. App’x 466-67 (Keith, J.)
  (concurring in part and dissenting in part) (alteration added).
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  that “might contain financial and employment records,” was reasonable in scope given

  the nature of the allegations of misappropriation of public funds and employment

  irregularities against James and given her acknowledgment in her Complaint that she

  had taken control of the court finances in 2010. Id. at 459.

        The Sixth Circuit reached a different conclusion as to the reasonableness of the

  search of James’s safe, which it analyzed under the special needs exception assuming,

  for the sake of argument, that it did fall within the workplace exception, which the

  court previously held it did not. As to the safe, the majority reasoned that, because

  James alleged in her Complaint that she purchased the safe for personal use and kept

  it under lock and key, and had instructed Deborah Green, the SCAO Regional

  Administrator at the time, that the safe was private and contained personal information

  and received an assurance from Green that her privacy rights in the safe would not be

  violated, the Complaint stated “a plausible claim that it was excessively intrusive to

  search her personal safe, because evidence of work-related misconduct was unlikely

  to be found there.” Id. at 459 (citing O’Connor, 480 U.S. at 726).

        As discussed supra, this Court previously denied Anderson’s motion to dismiss

  following remand, finding that Plaintiff’s Complaint plausibly alleged Anderson’s

  personal involvement in the alleged search of her personal safe. The Court is no

  longer bound to accept the allegations of Plaintiff’s Complaint as true, and must


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  determine at this summary judgment stage whether, viewing the facts now adduced

  through discovery in the light most favorable to the Plaintiff, there are genuine issues

  of material fact for trial.

         B.     Factual Background

                1.     The JTC proceedings and Judge James’s removal from office.

         Plaintiff Sylvia James was a judge for the 22nd District Court for 23 years

  before she was placed on administrative leave on April 13, 2011, by a unanimous vote

  of the Michigan Supreme Court in response to a grievance filed by the State Court

  Administrators Office (“SCAO”) alleging that Plaintiff had engaged in numerous

  financial and administrative improprieties during her tenure on the bench. (ECF No.

  132-2, September 26, 2017 Deposition of Sylvia James 16:9-22, 234:12-15; August

  11, 2017 Deposition of Deborah Lynn Evans Green 18:22-21:15.) Deborah Green, the

  SCAO Regional Administrator at the time, was authorized by the Supreme Court to

  appoint an outside judge to operate the 22nd District Court in Plaintiff’s absence and

  she appointed Valdemar Washington. (Green Dep. 21:2-15, 24:18-25:5.) The Judicial

  Tenure Commission (“JTC”), and specifically JTC staff attorney Margaret Rynier who

  was assigned Judge James’s case, conducted an investigation into the grievance filed

  against Judge James and ultimately recommended that a formal complaint be filed

  against her. (Def.’s Mot. Ex. 6, December 21, 2017 Deposition of Margaret Rynier


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  20:16-20,27:17-28:19.)

        The JTC did file a formal complaint against Judge James on October 26, 2011,

  “asserting that [Plaintiff] had engaged in (1) financial improprieties, (2) administrative

  improprieties, (3) employment improprieties, and (4) misrepresentations to the JTC.”

  In re James, 492 Mich. 553, 559 (2012). On December 15, 2011, the Michigan

  Supreme Court appointed retired District Judge Ann Mattson to act as a special master

  to conduct a hearing as to the charges made against Judge James in the JTC’s formal

  complaint. Id. That hearing lasted approximately six weeks and the special master

  filed her findings of fact and conclusions of law on April 23, 2012, finding that the

  JTC “had proven portions of all four counts by a preponderance of the evidence.” Id.

  The JTC issued its decision on discipline on June 11, 2012, adopting “all but one of

  the special master’s findings,” and recommending that Judge James be removed from

  office and pay $81,181.88 in fees and costs. Id.

        The Michigan Supreme Court, after reviewing the record and hearing oral

  argument, “agree[d] with the findings of the JTC and adopt[ed] its recommendation

  regarding sanctions.” Id. at 560. The most significant impropriety that the court

  found to have occurred was Judge James’s diversion of “thousands of dollars,” that

  were required by law to be allocated to restitution for crime victims, to charities and

  organizations of Judge James’s own choosing, many of which “were for


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  advertisements that promoted the judge, prominently displaying her picture and only

  tangentially mentioning” the Community Service Program (“CSP”) from which the

  funds were obtained.

        Justice Steven Markman filed a separate lengthy opinion, concurring in part and

  dissenting in part, expressing his opinion that the sanction of removal (which only

  lasted until the expiration of Judge James’s then-existing term of office) was

  insufficient punishment for the nature and degree of her transgressions:

        The evidence clearly establishes that Judge James' misconduct was
        prejudicial to the actual administration of justice, as her private use of
        hundreds of thousands of dollars of public funds prevented those funds
        from being used for their proper purposes, including provisions of
        assistance for the victims of crime within Inkster. As the majority has
        detailed, Judge James treated public funds, including funds statutorily
        required to go to victims of crime, as her own “publicly-funded, private
        charitable foundation” of which she was the sole administrator. In so
        doing, Judge James routinely ignored or circumvented legal
        requirements that conflicted with her own personal desires.

                            *            *             *

        But the most disturbing factor, and the one that arguably presents the
        greatest danger to the integrity of the judiciary, is that Judge James'
        misconduct was part of an enduring pattern or practice that she has
        shown no intention of changing. Her behavior and statements before,
        during, and after the investigation and hearing demonstrate that Judge
        James refuses to be bound by any law or requirement that conflicts with
        her own desires. This sustained pattern of misconduct and disregard for
        the law precludes, in my judgment, sympathetic consideration of Judge
        James' behavior. “We simply cannot overlook a disclosed pattern [of
        misconduct]. Once such pattern is discovered, the opportunity of
        continuity thereof must be concluded with firmness and resolution.” In

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        re Graham, 366 Mich. 268, 276, 114 N.W.2d 333 (1962). In this case,
        removal alone, which may accomplish nothing more than removing her
        from the bench for a period of fewer than five months, will not divest
        from Judge James all opportunity to continue her pattern of misconduct
        and her cavalier approach to her responsibilities as a district judge.

        The inadequacy of removal is further demonstrated by Judge James'
        practice of being unrestrained by her oath to tell the truth. During the
        course of this investigation and hearing, Judge James lied numerous
        times. . . . The provision of false testimony or evidence in a JTC
        proceeding has generally led to removal from office. In re Servaas, 484
        Mich. 634, 716 n. 11, 774 N.W.2d 46 (2009) (YOUNG, J., dissenting).

  492 Mich. 580-81.

        2.     Facts surrounding the alleged search of Plaintiff’s safe.

        Defendant Anderson served under the Plaintiff as the court administrator at the

  22nd District Court. (October 12, 2017 Deposition of Pamela Anderson 11:16-17,

  57:2-3; Pl.’s Dep. 241:12-18.) Anderson’s role at the 22nd District Court entailed

  maintaining custody of court records and filings. (Anderson Dep. 24:6-9.) Plaintiff

  described Anderson’s job as “the keeper of the records,” and the “liaison” between the

  22nd District Court and the regional administrator’s office. (Pl.’s Dep. 132:13-16,

  248:14-15.) Plaintiff’s only claim against Defendant Anderson involves the alleged

  Fourth Amendment violation related to the search of Plaintiff’s safe as to which, the

  Sixth Circuit has determined, Plaintiff plausibly alleged in her Complaint a reasonable

  expectation of privacy that required a warrant for any search by the government of her

  safe. The facts relevant to Plaintiff’s Fourth Amendment claim, viewed in the light

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  most favorable to the Plaintiff, are as follows. Plaintiff maintained a personal safe in

  her office, which was kept in her personal lavatory under lock and key. Plaintiff had

  the only key to the safe which she kept on her key chain. (James Dep. 47:7-51:15.)

  Plaintiff’s safe was locked when she left the court the day she was placed on

  administrative leave. (James Dep. 125:16-21.) Plaintiff never gave consent to anyone

  to open her safe and in fact was assured by Green that the investigation would not

  “invade the judge’s personal safe without her being there.” (James Dep. 62:3-63:1,

  227:22-228:9; ECF No. 140-9, Pl.’s Resp. Ex. 8, Excerpt from Proceedings held

  before Master Hon. Ann E. Mattson, January 24, 2012, Testimony of Deborah Green

  293:4-16.) While Plaintiff did not specifically tell anyone at the 22nd District Court

  that she had an expectation of privacy in her safe, it was well understood around the

  22nd District Court, and specifically by Anderson, that no one ventured into Judge

  James’s personal office when she was not there. (James Dep. 59:20-60:5, 243:2-18,

  247:1-248:7.)

        On April 13, 2011, the day that James was placed on administrative leave, she

  received a phone call from Michigan Supreme Court Justice Robert Young and had

  “about three hours” to pack up her things and leave the court. (James Dep. 234:12-

  235:22.) Within days, and not more than a week after being placed on administrative

  leave, Plaintiff called Judge Valdemar Washington, who was asked by the SCAO to


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  become a visiting judge at the 22nd District Court and was appointed to act as interim

  chief judge in Plaintiff’s absence beginning on April 14, 2011. Plaintiff tried to return

  to the court to pick up a paycheck or collect some things but Washington refused to

  allow her to return. (James Dep. 246:8-25; Def.’s Mot. Ex. 4, January 17, 2018

  Deposition of Valdemar L. Washington 9:13-17, 23:16-24:11.) When Plaintiff did

  finally arrange to go back to the court on July 14, 2011 to collect her things, having

  arranged to do so through Justice Young, it was discovered that her safe had been

  opened by someone in her absence. (James Dep. 120:18-121:2; Washington Dep.

  22:9-25.)

        Plaintiff admits that she does not know who “actually broke into” her safe but

  she does know that Washington had “dominion and control over [her] office.” (James

  Dep. 121:3-6, 123:24-124:4.) Plaintiff alleges that Defendant Anderson is one of the

  individuals who had access to Plaintiff’s office in Plaintiff’s absence and she thought

  Anderson had “an ax to grind” with Plaintiff, but Plaintiff has no “evidence” that

  Anderson broke into her safe and does not know who broke into her safe. (James

  Dep. 255:25-256:21.) Anderson testified that she knew that Plaintiff had a safe in her

  bathroom because you could see the safe when you were standing in the Plaintiff’s

  office and the bathroom door was open. (Anderson Dep. 38:22-39:5.) Plaintiff

  testified that she never told Anderson what was in the safe or that the safe contained


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  personal information but she thought it was “implicit.” (James Dep. 247:1-25,

  248:25-249:3.) Anderson testified that she did not have a key to the Plaintiff’s safe,

  she did not know whether it required a key or was a combination lock and she didn’t

  have a combination if one was required, and she did not know if the safe was owned

  by Plaintiff or the 22nd District Court. (Anderson Dep. 39:6-25, 54:8-18, 55:1-7,

  66:17-67:7.) Anderson testified that during the time that Plaintiff was the Chief Judge

  she never told Anderson that no one was to go in her safe. Plaintiff also testified that

  prior to being placed on administrative leave, she never indicated to anyone at the

  court, including Anderson, that she had an expectation of privacy in her safe. Plaintiff

  suggested that because court employees knew that she kept her office locked, and they

  were not permitted in her office when she was not there, they would know not to go

  in the safe. (Pl.’s Dep. 247:1-248:2.) After Plaintiff was placed on administrative

  leave, no one ever told Anderson that no one was supposed to access Plaintiff’s safe

  and Anderson never saw anyone open the safe. (Anderson Dep. 43:10-19.) Anderson

  testified that Judge Washington never made comments to her about wanting to open

  the safe. (Anderson Dep. 64:21-65:5.)

        Anderson was aware and observed that Judge Washington and Plaintiff’s niece,

  Nicole James who served as Plaintiff’s judicial secretary and had a key to Plaintiff’s

  office, were cleaning up Plaintiff’s office and Anderson assumed that documents were


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  being removed because the stacks of papers were getting smaller but she did not

  personally go through Plaintiff’s office to look for documents. (Anderson Dep. 37:2-

  16, 43:24-45:18, 47:7-48:11.) At some point in this “clean up” process, Nicole James

  did bring some “boxes of stuff” to Anderson, including old court files, old registers

  of action, old pleas by mail, “from like the 1990s.” (Anderson Dep. 48:22-49:9.)

  Anderson was unsure exactly where the boxes came from and she did not review their

  contents thoroughly before giving them to Brianna Purdy with instructions to shred

  the old registers of action and pleas by mail and to “take care” of any court files that

  were in the boxes. Ms. Purdy never reported back to Anderson after taking possession

  of the boxes and Anderson assumes that Purdy followed her instructions but Anderson

  cannot be certain of what was actually shredded. (Anderson Dep. 49:10-51:12.)

  Nicole James packed up James’s personal belongings in boxes and garbage bags and

  presumably delivered them to Plaintiff. (Washington Dep. 27:18-28:6.)

        Anderson testified that at some point after Plaintiff was placed on

  administrative leave and before Plaintiff returned to the court on July 14, 2011 to

  collect her things, Anderson was called into the Plaintiff’s office by Judge

  Washington, whom she considered to be her supervisor, and alerted by him to the fact

  that the Plaintiff’s safe was “open” and there were documents inside. Anderson

  testified that “[t]he safe was ajar just enough where you could fit your hand in.”


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  (Anderson Dep. 41:8-42:12, 65:22-66:8.) Anderson testified that Judge Washington

  was with her when she reached her hand into the safe, pulled out a document and said

  “oh, these are tax returns,” and “put the document back in the safe.” (Anderson Dep.

  42:12-17.) Anderson does not recall what if anything Judge Washington said or did

  at the time. She recalls that she just returned to her office but testified that Judge

  Washington was near enough that he would have heard her remark that the documents

  were tax returns. (Anderson Dep. 42:18-43-7.) Anderson never saw anyone actually

  open the safe. (Anderson Dep. 43:17-19.)

        Nicole James testified during the JTC proceedings before District Judge

  Mattson that at some point Judge Washington also asked Nicole to clean out

  Plaintiff’s safe but Nicole told Judge Washington that she did not feel comfortable

  doing that. (ECF No. 140-15, Excerpt from JTC Proceedings, Testimony of Nicole

  Green 2620:19-2621:1.) Nicole testified that when she declined to clean out the safe

  Washington responded: “Well, don’t worry about it. I have another plan for that.”

  (Id. at 2621:1-6.)5


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    Washington, on the other hand, testified that he never asked Nicole James to clean
  out Plaintiff’s safe and he never asked anyone else to break into or remove documents
  from Plaintiff’s safe – he testified that he didn’t even know there was a safe there until
  Plaintiff returned to the court on July 14, 2011, and it was noted by Plaintiff’s attorney
  that the safe was ajar and appeared to have been forcibly opened. (Washington Dep.
  28:7-14.) This testimony is inconsistent with both Nicole James’s testimony that
  Washington specifically asked her to clean out the safe prior to James returning to the
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        On April 15, 2011, the day after Washington began his duties as acting interim

  chief judge, Washington received a letter from Chad Schmucker, who was then the

  State Court Administrator, explaining that Plaintiff had been placed on administrative

  leave and asking Washington to investigate a number of matters related to the charges

  against Plaintiff. (Washington Dep. 10:18-11:4; ECF No. 140-4, Pl.’s Resp. Ex. 3,

  April 15, 2011 Letter from Chad C. Schmucker to Valdemar Washington.) The letter

  asked Washington to investigate several specific items including documentation to

  support certain travel expenditures, and Plaintiff’s practice of issuing I.R.S. 1099's to

  court employees for their work on the CSP program. Washington asked Anderson to

  gather any travel related records she had and to be on the lookout for documents

  relating to the CSP program, which she did, and Washington provided any documents

  Anderson gathered to the SCAO. Washington also asked Anderson to see if there

  were 1099's issued to court employees but none were located. (Washington Dep.

  12:24-15:25; Anderson Dep. 34:21-35:21.) Anderson testified that Washington asked

  her to “be on the lookout” for certain categories of documents and Anderson was able


  court on July 14, 2011, and with Anderson’s testimony that at some point prior to July
  14, 2011, Washington called her into his office and alerted her to the open safe, and
  with Ms. Rynier’s testimony that Anderson pointed out the opened safe to Ms. Rynier
  one day when Ms. Rynier was at the 22nd District Court meeting with Ms. Anderson.
  Washington’s motion for summary judgment is addressed in a separate Opinion and
  Order.

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  to locate some responsive documents and she believes she showed them to Judge

  Washington and ultimately gave them to Ms. Rynier. (Anderson Dep. 34:9-35:17.)

  Washington prepared regular written reports for Green to inform her of the progress

  he was making on the items in the Schmucker letter. (Washington Dep. 19:17-21:15.)

        Defendant Green also came to the courthouse and explained to Anderson that

  Plaintiff was under investigation and asked Anderson to cooperate and assist with

  locating documents and providing information related to certain areas that were being

  investigated. Anderson knew that Green worked for the SCAO but believed that

  Green was acting on behalf of the JTC. (Anderson Dep. 19:6-20:7.) Anderson agreed

  to honor Green’s request for assistance because Green “was working for” the SCAO.

  (Anderson Dep. 22:6-9.) Anderson met with and reviewed many of the documents she

  located with Margaret Rynier, the JTC staff attorney conducting the investigation into

  Plaintiff’s conduct.   (Anderson Dep. 20:12-15, 21:1-22, 23:8-28:24.) Anderson

  complied with the various requests of the JTC, SCAO, and Washington to collect and

  provide records and documents but never provided any documents from Plaintiff’s

  safe. (Anderson Dep. 42:14-23, 47:22-24; Washington Dep. 30:9-11; Rynier Dep.

  44:20-25, 45:12-15.)




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  II.    LEGAL STANDARD

         Summary judgment is appropriate where the moving party demonstrates that

  there is no genuine dispute as to any material fact. Celotex Corp. v. Catrett, 477 U.S.

  317, 322 (1986); Fed. R. Civ. P. 56(a). “A fact is ‘material’ for purposes of a motion

  for summary judgment where proof of that fact ‘would have [the] effect of

  establishing or refuting one of the essential elements of a cause of action or defense

  asserted by the parties.’” Dekarske v. Fed. Exp. Corp., 294 F.R.D. 68, 77 (E.D. Mich.

  2013) (Borman, J.) (quoting Kendall v. Hoover Co., 751 F.2d 171, 174 (6th Cir.

  1984)). A dispute is genuine “if the evidence is such that a reasonable jury could

  return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S.

  242, 247-48 (1986).

         “In deciding a motion for summary judgment, the court must draw all

  reasonable inferences in favor of the nonmoving party.” Perry v. Jaguar of Troy, 353

  F.3d 510, 513 (6th Cir. 2003) (citing Matsushita Elec. Indus. Co. v. Zenith Radio

  Corp., 475 U.S. 574, 587 (1986)). At the same time, the non-movant must produce

  enough evidence to allow a reasonable jury to find in his or her favor by a

  preponderance of the evidence, Anderson, 477 U.S. at 252, and “[t]he ‘mere

  possibility’ of a factual dispute does not suffice to create a triable case.” Combs v. Int’l

  Ins. Co., 354 F.3d 568, 576 (6th Cir. 2004) (quoting Gregg v. Allen–Bradley Co., 801


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  F.2d 859, 863 (6th Cir. 1986)). Instead, “the non-moving party must be able to show

  sufficient probative evidence [that] would permit a finding in [his] favor on more than

  mere speculation, conjecture, or fantasy.” Arendale v. City of Memphis, 519 F.3d 587,

  601 (6th Cir. 2008) (quoting Lewis v. Philip Morris Inc., 355 F.3d 515, 533 (6th Cir.

  2004)). “The test is whether the party bearing the burden of proof has presented a jury

  question as to each element in the case. The plaintiff must present more than a mere

  scintilla of the evidence. To support his or her position, he or she must present

  evidence on which the trier of fact could find for the plaintiff.” Davis v. McCourt, 226

  F.3d 506, 511 (6th Cir. 2000) (internal quotation marks and citations omitted). That

  evidence must be capable of presentation in a form that would be admissible at trial.

  See Alexander v. CareSource, 576 F.3d 551, 558–59 (6th Cir. 2009).

  III.   ANALYSIS

         Defendant Anderson makes four main arguments for dismissal of Plaintiff’s

  Fourth Amendment claim against her: (1) Plaintiff has failed to establish that

  Anderson acted with “an investigatory purpose” when she encountered Plaintiff’s

  “unlocked and open” safe and reached in to remove a document and therefore the

  Fourth Amendment does not apply to her conduct: (2) Plaintiff had no reasonable

  expectation of privacy in her safe because discovery has revealed that in fact the safe

  was “open and unlocked”; (3) Plaintiff has failed to identify what documents were


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  taken from her safe and has not specified how documents taken from her safe would

  have been exculpatory evidence that she could have offered in her defense against the

  JTC charges of impropriety and thus has failed to establish proximate cause; and (4)

  even were the Court to find that Defendant Anderson violated Plaintiff’s Fourth

  Amendment rights, Anderson is entitled to qualified immunity because at the time of

  the search there was no clearly established law prohibiting the search of a safe in the

  workplace context. The Court will address these arguments in turn.

        A.     The “Investigatory Purpose” of Anderson’s Alleged Search

        Anderson argues that because she lacked an “investigatory purpose to the aid

  the JTC in its investigation” when she reached into and examined a document(s) from

  Plaintiff’s safe, her conduct does not implicate the Fourth Amendment. It is not at all

  clear that the Sixth Circuit would require Plaintiff to establish an investigatory

  purpose to aid the JTC, but even assuming it did, there is at a minimum a genuine

  issue of material fact whether Anderson was acting with an investigatory purpose at

  the time she is alleged to have removed exculpatory materials from Plaintiff’s safe.

        Defendant relies on several cases discussing the principle “that the Fourth

  Amendment proscribes only governmental action and does not apply to a search or

  seizure, even an unreasonable one, conducted by a private individual not acting as an

  agent of the government or with the participation or knowledge of any governmental


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  official.” United States v. Lambert, 771 F.2d 83, 89 (6th Cir. 1985) (citing United

  States v. Jacobsen, 466 U.S. 109 (1984)). See also United States v. Shepherd, 646 F.

  App’x 385, 388 (6th Cir. 2016) (“In the context of a search, the defendant must

  demonstrate two facts: (1) Law enforcement “instigated, encouraged or participated

  in the search” and (2) the individual ‘engaged in the search with the intent of assisting

  the police in their investigative efforts.’”) (quoting United States v. Hardin, 539 F.3d

  404, 419 (6th Cir. 2008) (quoting Lambert, 771 F.2d at 89); United States v. Howard,

  752 F.2d 220, (6th Cir.), vacated on other grounds, 770 F.2d 57 (6th Cir. 1985)

  (“[W]here, as here, the intent of the private party conducting the search is entirely

  independent of the government's intent to collect evidence for use in a criminal

  prosecution, we hold that the private party is not an agent of the government.”).

        In Lambert, for example, the Sixth Circuit determined that inculpatory evidence

  that was provided to the FBI by a housekeeper, who was acting as an FBI informant

  but was a private party, was not seized in violation of the Fourth Amendment. The

  court explained that two facts must be present for a private party to be deemed to be

  acting as an agent of the government: “First, the police must have instigated,

  encouraged or participated in the search. Second, the individual must have engaged

  in the search with the intent of assisting the police in their investigative efforts.” 771

  F.2d at 89. The court reasoned that “there is no seizure within the meaning of the


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  Fourth Amendment when an object discovered in a private search is voluntarily

  relinquished to the government.” Id. (internal quotation marks and citation omitted).

  Although the housekeeper was a government informant and intended to assist the

  government in its investigation when she provided the inculpatory evidence, the Sixth

  Circuit concluded that “the record fail[ed] to show that the FBI instigated, encouraged

  or participated in her searches,” because “the record shows that she was told on

  several occasions that she should not take items from the house,” and therefore her

  “search must be deemed to be a private search and, therefore, not within the purview

  of the Fourth Amendment.” 771 F.2d at 89.

        In Shepherd, law enforcement officers transported Shepherd to an emergency

  room, suspecting he had a bag of drugs in his rectum. 646 F. App’x at 386. Shepherd

  was drifting in and out of consciousness and officers were concerned that his life was

  at risk. Id. The attending physician in the emergency room performed an x-ray and

  a CT scan, both of which alerted to a “foreign body” in Shepherd’s rectum, but

  otherwise determined that Shepherd’s life was not immediately at risk. Id. at 387.

  Based in part on the results of the attending physician’s studies, the officers obtained

  a warrant to permit sedation of Shepherd and removal of the bag. Id. Shepherd

  moved to suppress the the pre-warrant x-ray and CT scan evidence, arguing that the

  private physician was acting as an agent of the government and that his “search,” i.e.


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  taking x-rays and a CT scan, was attributable to the government and violated the

  Fourth Amendment. Id. at 388. The district court denied the motion, and the Sixth

  Circuit affirmed. The Sixth Circuit concluded that the emergency room physician

  “acted in pursuit of Shepherd's medical well-being rather than to help the police

  retrieve the drugs.” Id. at 389. In reaching this conclusion, the Sixth Circuit reasoned

  that the “pertinent question” in the context of a “medical emergency involving an

  individual whose liberty the state has limited . . . is whether the contact arises in an

  effort to aid law enforcement in their duty to provide medical care, rather than to

  advance a search.” Id. at 390. In Shepherd’s case, the “search” occurred in the

  context of the duty to provide medical aid. Id.

        Finally, in Howard, the Sixth Circuit found that an insurance investigator,

  conducting an inspection for purposes of determining the insured’s coverage under a

  policy of insurance, was not “an agent” of the government where his intent in

  collecting evidence was separate and apart from the government’s criminal

  investigation: “[W]here, as here, the intent of the private party conducting the search

  is entirely independent of the government’s intent to collect evidence for use in a

  criminal prosecution, we hold that the private party is not an agent of the

  government,” and the district court “did not err in admitting his testimony.” 752 F.2d

  at 228.


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        The gist of these cases is clear – and each of them involved the actions of

  private parties – a housekeeper, Federal Express employees (Jacobsen), an insurance

  investigator, a private medical doctor – not otherwise employed by a governmental

  entity. It is undisputed that Anderson is employed by a governmental entity, as her

  plea for qualified immunity demonstrates. Defendant suggests, however, that in

  addition to purely private parties, a “non-law enforcement governmental actor” must

  also be found to have acted with an “investigatory purpose,” in this case a purpose to

  “aid the JTC,” in order for the strictures of the Fourth Amendment to apply to his or

  her conduct. (Def.’s Mot. 12, PgID 3217-20.) Defendant relies on the Ninth Circuit’s

  reasoning in United States v. Attson, 900 F.2d 1427, 1433 (9th Cir. 1990), that “for the

  conduct of a governmental party to be subject to the fourth amendment, the

  governmental party engaging in that conduct must have acted with the intent to assist

  the government in its investigatory or administrative purposes and not for an

  independent purpose.” 900 F.2d at 1433 (citing Howard, 752 F.2d at 227).

        Despite Anderson’s suggestion otherwise, and as discussed supra, Howard

  addressed the actions of a purely private party – an insurance investigator – and did

  not address the actions of a “non-law enforcement governmental actor.” Anderson has

  cited no authority to indicate that the Sixth Circuit has embraced or would adopt the

  Attson investigative purpose requirement for “non-law enforcement governmental


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  employees.” Indeed, several courts have questioned whether Attson remains good law

  on this point and those courts that have indicated an inclination to adopt such a

  distinction appear to have done so in the specific context, presented in Attson, of the

  conduct of a government-employed medical doctor. See, e.g., Dubbs v. Head Start

  Inc., 336 F.3d 1194, 1205 (10th Cir. 2003) (noting defendants reliance on Attson but

  concluding that the “contention that the Fourth Amendment does not apply in the

  ‘noncriminal’ and ‘noninvestigatory’ context is without foundation”); Keyes v.

  Washington County, No. 15-cv-1987, 2017 WL 3446256, at * 4 (D. Ore. Aug. 10,

  2017) (rejecting defendants reliance on Attson for the proposition that “the Fourth

  Amendment does not apply” because defendant lacked an investigative or

  administrative purpose, concluding that Soldal v. Cook County, 506 U.S. 56, 69

  (1992), “implicitly overruled Attson because Attson's holding turned on the

  governmental actor's subjective motivation for conducting a search”); Jane Doe I v.

  Valencia College Bd. of Trustees, 838 F.3d 1207, 1212–13 (11th Cir. 2016) (rejecting

  Attson as “not good law” in light of Soldal, and rejecting the district court’s

  conclusion that “no search occurred because the transvaginal ultrasounds had no

  ‘investigative’ or ‘administrative’ purpose,” observing “that the word ‘search’ in the

  Fourth Amendment does not contain a purpose requirement”); Madden v. Hamilton

  County Dep’t of Educ., No. 13-cv-377, 2015 WL 11004862, at *4-6 (E.D. Tenn. Aug.


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  5, 2015) (questioning whether the Sixth Circuit would adopt the Attson test and noting

  that the Tenth Circuit in Dubbs “vigorously disagreed with this rationale”). But see

  Small v. Fetter, No. 14-cv-006, 2015 WL 1393585, at *4 (E.D. Ky. March 25, 2015)

  (noting that “[t]he Sixth Circuit has not articulated a test for determining whether the

  conduct of a non-law enforcement government employee, like Dr. Fetter, is subject

  to the Fourth Amendment” citing Hearring v. Sliwowski, 712 F.3d 275, 281 (6th Cir.

  2013), and “applying Attson’s rationale in the context of a government-employed

  physician”). The Sixth Circuit has cited Attson twice, once to distinguish it factually

  and warn that “focusing too much on the language of [Attson and Howard] and not on

  the actual holdings would turn them into an engine for circumventing the Fourth

  Amendment,” see United States v. Booker, 728 F.3d 535, 545 (6th Cir. 2013), and

  once to note Attson’s holding but finding that the Attson was insufficient out-of-circuit

  precedent on which to find a clearly established right, see Hearring v. Sliwowski, 712

  F.3d 275, 281-82 (6th Cir. 2013).

        Apart from the legal uncertainty that an investigatory purpose requirement as

  applied in Attson would be adopted in the Sixth Circuit, Anderson ignores the actual

  language of Attson which holds that the Fourth Amendment would apply to

  governmental conduct animated either by an investigative or administrative purpose:

  “[T]he type of conduct regulated by the fourth amendment must be somehow designed


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  to elicit a benefit for the government in an investigatory or, more broadly, an

  administrative capacity.” 900 F.2d at 1429. Here, Anderson denies an investigatory

  purpose to aid the JTC when she examined documents from Plaintiff’s safe but

  concedes that in reaching into Plaintiff’s safe and examining the contents, she was

  acting in her role as administrator of the 22nd District Court – as keeper of the court

  records – and believed that the documents in the safe “were probably court

  documents,” which presumably she was intending to examine and control if

  appropriate in her role as state court administrator. (ECF No. 132-10, March 14, 2018

  Affidavit of Pamela Anderson ¶¶ 5-6.) Anderson argues that she was “in her

  workplace, as a court administrator who is charged with maintaining the court’s files

  [for the benefit of the government], and she encounter[ed] an unlocked and open safe,

  that could contain court files,” thus justifying her examination of the contents of the

  safe. (Def.’s Mot. 18-19, PgID 3223-24.) Even if she lacked an investigative purpose

  to aid the JTC at that moment in time, she cannot deny an administrative purpose

  related to her role as court administrator in control of court records and files, in

  service of the government.

        Even assuming that Plaintiff would be required to establish that Anderson

  possessed an investigatory purpose to aid the JTC, and assuming that her admitted

  administrative purpose would fail to satisfy such a test, there is at a minimum a


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  question of fact on this summary judgment record whether a reasonable juror could

  find that Anderson possessed an investigatory purpose to aid the JTC. According to

  Washington and Anderson, Anderson was directly tasked with gathering documents

  and information, by both Washington and Green, to assist in the investigation into

  Plaintiff’s alleged workplace misconduct. And Anderson did provide documents that

  she gathered directly to Maggie Ryniers, the JTC staff attorney handling the

  investigation, and “went over” those documents with Ryniers. Indeed, Anderson

  testified that she felt compelled to cooperate with Green because “she was the SCAO.”

        With regard to the search of the safe itself, according to Anderson it was

  Washington, Anderson’s supervisor and the individual who was directly charged with

  assisting in the JTC investigation as evidenced by the Schmucker letter and the

  testimony of several witnesses, who called her into the office and alerted her to the

  open safe, specifically alerting her that “there were documents inside.”          And

  documents are what Washington and Anderson were instructed to collect by the

  SCAO.

        Given that Anderson was actively assisting in the investigation, and in fact

  pleaded as much in her state court suit against Plaintiff, see Anderson Dep. 59:5-61:9,

  a reasonable juror could certainly conclude that she acted with an investigatory

  purpose when, at the direction of Washington, she reached into Plaintiff’s safe and


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  examined the document(s) she pulled out. To completely ignore the context of the

  ongoing investigation at the time that Washington called Anderson into his office and

  alerted her to the documents visible in Plaintiff’s opened safe would disregard the

  Court’s obligation to view the facts and all reasonable inferences from those facts in

  the light most favorable to the Plaintiff. At a minimum, Plaintiff has created a genuine

  issue of material fact that Anderson acted with an investigatory purpose to assist Judge

  Washington and the JTC investigation, both generally and specifically when Anderson

  reached into the safe and examined a document from the safe. Assuming that Plaintiff

  is required to establish investigatory purpose, Defendant is not entitled to summary

  judgment based on this issue.

        B.     Plaintiff Fails to Submit Evidence Creating a Genuine Issue of
               Material Fact on her Claim That Anderson Violated Plaintiff’s
               Reasonable Expectation of Privacy in the Safe

        “[Plaintiff’s] Fourth Amendment rights are implicated only if the conduct of the

  [Defendant] in this case infringed ‘an expectation of privacy that society is prepared

  to consider reasonable.’” O’Connor, 480 U.S. at 715 (quoting Jacobsen, 466 U.S. at

  109). “[P]ublic employer intrusions on the constitutionally protected privacy interests

  of government employees for noninvestigatory, work-related purposes, as well as for

  investigations of work-related misconduct, should be judged by the standard of

  reasonableness under all the circumstances.” 480 U.S. at 725-26. Anderson argues


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  that even assuming that Plaintiff had an expectation of privacy in her locked safe a

  pled, Plaintiff cannot establish that society would likewise be willing to recognize as

  reasonable an expectation of privacy “in an unlocked and opened safe that she kept in

  her office lavatory in the workplace context.” (Def.’s Mot. 15, PgID 3220.) Anderson

  relies on the Supreme Court’s rationale in Jacobsen regarding searches conducted by

  private actors, and also cites Taylor v. Michigan Dept. of Natural Resources, 502 F.3d

  452 (6th Cir. 2007), for the proposition that any intrusion into Plaintiff’s opened and

  unlocked safe to remove and immediately replace a document was so minimal an

  intrusion as to be free of Fourth Amendment strictures.6 But, as discussed supra,

  Anderson is not a purely private actor like the Federal Express employees in Jacobsen

  and Plaintiff’s argument analogizing to Taylor relies on disputed issues of fact.

  However, for reasons independent of those proffered by Anderson, the Court

  concludes that Plaintiff did not have an expectation of privacy in her safe vis-a-vis

  Defendant Anderson that society would be willing to recognize and Plaintiff has failed

  to create a genuine issue of material fact that Defendant Anderson violated her Fourth


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      Indeed the Court has difficulty following Anderson’s argument here based on
  Jacobsen. She appears on the one hand to liken herself to the purely private Federal
  Express employees, but on the other relies on the rationale that when the government
  happens upon evidence that has been exposed by a private party’s search, it does not
  violate the Fourth Amendment by observing that evidence. In any event, Anderson
  is not a private party and she did more than just “observe” the open safe as she found
  it – she admits to having reached in and removed and examined some of its contents.
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  Amendment rights.

        In analyzing the allegations of Plaintiff’s Complaint in this case, the Sixth

  Circuit recognized that the Supreme Court in O’Connor defined the boundaries of the

  workplace context to include an office but also held that certain items that are personal

  in nature, while found inside the workplace, such as “a piece of closed personal

  luggage, a handbag or a briefcase,” that happen to “pass through” the employer’s

  workplace, are not necessarily considered “part of the workplace context.” 592 F.

  App’x at 456 (citing O’Connor, 480 U.S. at 716). The Sixth Circuit held that Plaintiff

  had alleged facts that plausibly suggested that her locked personal safe was

  “analogous to a piece of closed personal luggage or a briefcase because it was not

  within the employer’s control, and thus not a part of the ‘workplace context.’” 592 F.

  App’x at 457. Accordingly, the Sixth Circuit concluded that the O’Connor special

  needs workplace exception did not apply, a warrant was required and was not

  obtained, and therefore Plaintiff plausibly alleged a Fourth Amendment violation. Id.

  In reaching this conclusion, the Sixth Circuit assumed the truth of the following

  allegations:

        James purchased the safe herself, kept it locked, and used it to store
        personal items. James alleges that she did not authorize employer use or
        access; she used it exclusively. Specifically, James alleges that she and
        her attorney met with Defendant Green and informed her that the safe
        contained personal documents. In response, James was advised that no
        one would violate her privacy rights. Importantly, because she was not

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        on notice that her safe could be subject to search and there is no evidence
        that others had access to her safe or that it was “generally within the
        employer's control,” James's safe is further distinguished from the
        confines of the workplace delineated in O'Connor, 480 U.S. at 715, 107
        S.Ct. 1492 (“The workplace includes those areas and items that are
        related to work and are generally within the employer's control.”). Thus,
        although the safe was “within the employer's business address,” it is
        analogous to a piece of closed personal luggage or a briefcase because
        it was not within the employer's control, and thus is not part of the
        “workplace context.” Id. at 716, 107 S.Ct. 1492. O'Connor counsels that
        the warrantless search of the safe falls outside the bounds of the special
        needs exception to the warrant requirement altogether.

  592 F. App’x at 457.

        In reaching this conclusion, the Sixth Circuit distinguished the Seventh

  Circuit’s decision in Gossmeyer v. McDonald, 128 F.3d 481 (7th Cir. 1997), which

  upheld the search of an employee’s locked filing cabinet and storage unit. In

  Gossmeyer, the plaintiff, a child protective investigator, kept a filing cabinet and desk

  in her office, containing both work and personal items, that she kept locked “with her

  own private key.” Id. at 484-85. Law enforcement officers investigating allegations

  that plaintiff possessed child pornography entered plaintiff’s workplace and in the

  course of their search of her office “pried open the desk and file cabinet with their

  tools,” and searched the contents. Upon returning to work Gossmeyer noted that

  personal items had been removed from her desk, items that were later returned to her

  desk without her knowledge or consent. Id. at 485-86. Gossmeyer was never

  informed of the results of the investigation and was never charged or indicted for any

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  crime based on the search. Id. at 486. Gossmeyer filed a complaint alleging, in part,

  a violation of her Fourth Amendment rights based on the search of her locked desk

  and file cabinet.

        The district court found the search reasonable and the Seventh Circuit affirmed.

  The Seventh Circuit found the search of Gossmeyer’s locked desk and file cabinet was

  a workplace search under O’Connor and was reasonable under the Fourth

  Amendment, reasoning as follows:

        We first examine whether Gossmeyer had a reasonable expectation of
        privacy. Gossmeyer contends that she had an expectation of privacy in
        her office, filing cabinet, two-door storage unit, and desk because she
        bought the unit and filing cabinet herself and had exclusive control over
        them with lock and key. She also notes that she maintained her desk with
        a lock and key. However, Gossmeyer herself points out that in the two
        cabinets she stored evidentiary photographs, files, documents,
        work-related sundries, and some personal items. Most of the contents
        were work-related items, and Gossmeyer was the subject of a
        work-related investigation. In Ortega, the Court found that the
        “workplace” includes “those areas and items that are related to work and
        are generally within the employer's control.” Ortega, 480 U.S. at 715,
        107 S.Ct. at 1496–97. Gossmeyer is correct that the “workplace” does
        not necessarily include closed personal containers, such as locked
        luggage or purses, that just happen to be in the workplace. See id. at 716,
        107 S.Ct. at 1497. But we fail to find an expectation of privacy in the
        cabinets simply because Gossmeyer bought them herself. The cabinets
        were not personal containers which just happened to be in the workplace;
        they were containers purchased by Gossmeyer primarily for the storage
        of work-related materials. Gossmeyer herself stated that she bought them
        because of a lack of storage space. Also, Carla Hay had at least a key to
        the two-door storage unit, which she opened for Heath and Jesse.
        Gossmeyer's desk, which she did not purchase, also likely had
        work-related materials in it. Gossmeyer had no constitutionally-protected

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        privacy interest in her desk, two-door storage unit, or filing cabinet.
        These items were part of the “workplace,” not part of Gossmeyer's
        personal domain.

  128 F.3d at 491. But the majority in this case distinguished Gossmeyer, “specifically”

  because here Plaintiff had expressed the private nature of her safe to Defendant Green

  and had been assured that her privacy expectations in her safe would be protected:

        The search of James's safe presents very different circumstances than
        these cases because she claims to have used the safe primarily for
        personal use. James purchased the safe herself, kept it locked, and used
        it to store personal items. James alleges that she did not authorize
        employer use or access; she used it exclusively. Specifically, James
        alleges that she and her attorney met with Defendant Green and informed
        her that the safe contained personal documents. In response, James was
        advised that no one would violate her privacy rights.

  592 F. App’x at 457. The plaintiff in Gossmeyer also had purchased the filing cabinet

  herself, kept it locked, and had it “pried open” in her absence. Thus, the fact

  distinguishing Plaintiff’s allegations from Gossmeyer was that Plaintiff alleged that

  she had communicated to Green the private nature of the materials kept in her safe and

  was assured that “no one would violate her privacy rights.” 592 F. App’x at 457.

        There is absolutely no evidence that the information conveyed by Plaintiff to

  Green was ever communicated to Anderson. We must analyze Anderson’s conduct

  in light of the circumstances known to her at the time she encountered an open,

  unlocked safe in Plaintiff’s office in the midst of an office-wide investigation into, and

  collection of documentary evidence related to, Plaintiff’s alleged workplace

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  misconduct. There is no evidence that Anderson had any awareness of any of the

  factors that the Sixth Circuit found determinative of a Fourth Amendment right to

  privacy here. There is no genuine issue of fact that Anderson did not know whether

  Plaintiff or the court had purchased the safe, she was not aware that Plaintiff kept it

  under lock and key, she was not aware that Plaintiff kept personal, as opposed to

  work-related materials in the safe, and she was not aware that Plaintiff had secured a

  commitment from Green that her safe would not be searched for evidence of

  workplace misconduct. In fact, Plaintiff concedes that she did not tell Anderson or

  anyone else at the 22nd District Court that her safe was private, locked, or contained

  personal materials. Plaintiff testified that prior to being placed on administrative

  leave, she never indicated to anyone at the court, including Anderson, that she had an

  expectation of privacy in her safe. Plaintiff suggested that because court employees

  knew that she kept her office locked, and they were not permitted in her office when

  she was not there, they would know not to go in the safe. (Pl.’s Dep. 247:1-248:2.)

  But as we know, the Sixth Circuit has concluded that the search of Plaintiff’s office

  was reasonable under the Fourth Amendment so any expectation of privacy that

  Plaintiff claims in her safe that was solely derivative of her expectation of privacy in

  her office is not protected under the Fourth Amendment. On the facts known to

  Anderson at the time of the search, which were quite different from the facts that the


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  Sixth Circuit concluded plausibly alleged a Fourth Amendment violation, a state court

  administrator in Anderson’s position would reasonably have believed that reaching

  into Plaintiff’s safe, whether it was “ajar” or had been “jimmied open,” was

  constitutionally permissible under the circumstances.

        With respect to Anderson, the facts regarding the private nature of Plaintiff’s

  safe assumed by the Sixth Circuit to be true were not borne out in the discovery

  process. “The reasonableness of an official invasion of the citizen’s privacy must be

  appraised on the basis of the facts as they existed at the time that invasion occurred.”

  Jacobsen, 466 U.S. at 115. The question the Court must answer is whether society

  would recognize an expectation of privacy in an open, unlocked safe kept in the office

  of a state court judge, and encountered during the course of an official investigation

  into the alleged misconduct of that judge, by a court administrator who was both

  generally responsible for maintaining court records and files and specifically was

  tasked with assisting in collecting documents related to the alleged acts of misconduct.

   Even viewing the facts at the time that the alleged search occurred in the light most

  favorable to the Plaintiff, Plaintiff has not created a genuine issue of material fact on

  her claim that Anderson violated Plaintiff’s Fourth Amendment rights when she was

  called by Judge Washington (her supervisor at the time) and alerted to Plaintiff’s

  open, unlocked safe and removed and examined a document (or documents) from that


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  safe. The evidence suggests that the staff at the 22nd District Court may generally

  have understood that the Plaintiff’s office, which Plaintiff kept locked at all times

  when she was not in it, was considered by Plaintiff to be her private space. But the

  Sixth Circuit concluded that a search of Plaintiff’s office was reasonable under the

  Fourth Amendment and there is insufficient evidence on which a reasonable juror

  could conclude that Anderson understood that Plaintiff’s safe, which was within

  Plaintiff’s office space, contained Plaintiff’s private, personal information or was kept

  locked or was in anyway more “private” and entitled to greater constitutional

  protection than Plaintiff’s office or desk.

        Anderson had been directed by the SCAO and by Judge Washington to collect

  certain documentation related to the alleged misconduct and it is undisputed that

  Anderson did collect documents, some of which she turned over to Ms. Rynier from

  the JTC and some of which she authorized Brianna Purdy to shred, under guidelines

  that she received from the SCAO. As discussed supra, the Sixth Circuit concluded

  that the search and collection of documents from Plaintiff’s office space was

  reasonable at its inception because there were “‘reasonable grounds’ for suspecting

  that a search of James’s office would yield evidence that James was ‘guilty of work-

  related misconduct.’” 592 F. App’x at 458 (quoting O’Connor, 480 U.S. at 726). The

  Sixth Circuit also concluded that a thorough search of Plaintiff’s office proper, an area


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  that “might contain financial and employment records,” was reasonable in scope given

  the nature of the allegations of misappropriation of public funds and employment

  irregularities against James and given her acknowledgment in her Complaint that she

  had taken control of the court finances in 2010. Id. at 459.        While there is

  evidence in the record suggesting that Plaintiff told Green that she considered her safe

  to be private, and received assurances from Green that her safe would not be disturbed

  or opened, there is no evidence in the record to suggest that Anderson learned this fact

  from Green or that Anderson had any knowledge that the safe in Plaintiff’s office was

  different from (i.e. kept under lock and key and more private than) any other space in

  the Plaintiff’s office which was being searched for relevant information.7 Nor is there

  any evidence, other than Plaintiff’s unsupported assertion that Anderson “had control”

  over Plaintiff’s office space after Plaintiff was placed on administrative leave, on

  which a reasonable juror could conclude that Anderson had anything whatsoever to

  do with the unlocking/opening of Plaintiff’s safe. In fact, Plaintiff admits that she has



  7
    There is evidence in the record sufficient to create a genuine issue of material fact
  that Green did communicate to Washington the information conveyed to Green by
  Plaintiff regarding the private nature of her safe and its contents. See ECF No. 140-9,
  JTC Hr’g Tr. 297, PgID 4639-40. Green testified in the JTC proceedings that
  Plaintiff’s attorney, Sharon McPhail, did inform Green of the private nature of
  Plaintiff’s safe and Green recalled that she did convey that information to Judge
  Washington. This evidence is discussed in a separate Opinion and Order addressing
  Judge Washington’s motion for summary judgment.
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  no evidence that it was Anderson who broke into/opened her safe and removed or

  destroyed exculpatory documents. (James Dep. 265:20-22.) The only evidence in the

  record suggests that it was not Anderson who opened the safe. First, Anderson’s

  testimony that Judge Washington alerted her to the fact that the safe was “ajar” and

  that there were “documents inside” is not disputed by the Plaintiff. Indeed, Plaintiff

  relies on this evidence to support her Fourth Amendment claim. Second, Anderson

  specifically testified that while she was aware during Plaintiff’s tenure at the 22nd

  District Court that Plaintiff had a safe in her office, she did not know whether the safe

  belonged to Plaintiff or the Court, she did not know what Plaintiff kept in the safe, she

  did not know whether it was kept locked or not, and if it was locked she had no way

  of knowing how to get into the safe. (Anderson Dep. 38:22-39:25.) Anderson

  testified that she did not notice at the time she reached into the safe that it had been

  “broken into or pried open.” (Def.’s Mot. Ex. 9, Anderson Aff. ¶ 4.) But even

  assuming that the safe did appear to have been “jimmied open,” Gossmeyer instructs

  that this does not change the analysis with respect to Anderson’s conduct based on the

  facts known to her at the time of the alleged search.

        “To make out a genuine issue of material fact, plaintiff must present significant

  probative evidence tending to support her version of the facts, evidence on which a

  reasonable jury could return a verdict for her.” Chappell v. City of Cleveland, 585


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  F.3d 901, 913 (6th Cir. 2009) (emphasis in original). “The ‘mere possibility’ of a

  factual dispute is not enough.” Mitchell v. Toledo Hospital, 964 F.2d 577, 582 (6th

  Cir. 1992) (quoting Gregg v. Allen-Bradley Co., 801 F.2d 859, 863 (6th Cir.1986)).

   Plaintiff has failed to produce evidence on which a trier of fact could conclude that

  Anderson had any involvement in opening the safe, had any knowledge that the safe

  was the personal private property of the Plaintiff, or that it contained Plaintiff’s

  personal information and/or that it was kept locked. Nor is there evidence to dispute

  the fact that at the time of the alleged search, Anderson encountered an open, unlocked

  safe with the door ajar (or “jimmied open”), and that the opened safe appeared on a

  visual inspection to contain documents. Likewise, it is undisputed that Anderson was

  the court administrator charged with maintaining court files and had been tasked by

  the SCAO and Judge Washington with assisting with the collection of documentary

  evidence of Plaintiff’s alleged misconduct when she was alerted by her supervisor,

  Judge Washington, to the open and unlocked safe visibly containing documents. No

  reasonable juror could conclude, under these circumstances, that Anderson violated

  a reasonable expectation of privacy in the safe when she reached into the safe and

  removed and examined document(s). As discussed infra, even if the Court were to

  conclude that genuine issues of material fact did exist as to the reasonableness of

  Anderson’s conduct in reaching into the safe and removing documents, Anderson


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  would be entitled to qualified immunity based upon the novelty of this factual

  scenario.

        C.     Plaintiff Has Failed to Submit Evidence Creating a Genuine Issue of
               Material Fact that Anderson’s Conduct in Allegedly Removing
               Documents From Plaintiff’s Safe Proximately Caused Plaintiff’s
               Injury

        Defendant Anderson argues that Plaintiff cannot state a Fourth Amendment

  claim because she has not adduced sufficient evidence to create a genuine issue of

  material fact regarding what documents were taken from her safe and whether any of

  the documents that she claims were taken from the safe were used against her or

  would have proved to be exculpatory in the JTC proceeding. Anderson argues that if

  Plaintiff cannot demonstrate that Anderson retained and shredded or provided to the

  JTC any documents from Plaintiff’s safe, she cannot establish that Anderson’s

  conduct proximately caused her injuries, which “is an essential element of a § 1983

  claim.” Horn v. Madison County Fiscal Court, 22 F.3d 653, 659 (6th Cir. 1994). See

  also Brentwood Academy v. Tennessee Secondary School Athletic Ass'n, 442 F.3d 410,

  443 (6th Cir. 2006), rev’d and remanded on other grounds 127 S. Ct. 2489 (2007)

  (“[P]roximate causation is an essential element of a § 1983 claim for damages. That

  is, a violation of a federally secured right is remediable in damages only upon proof

  that the violation proximately caused injury.”) (internal quotation marks omitted).



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        Defendant Anderson argues that Plaintiff has been unable to identify in

  discovery what documents were in her office safe in 2011 or how those documents

  would have been exculpatory. Plaintiff testified in her deposition that the safe would

  have contained: “Tax returns, statements from my accountant, American Express

  statements. If memory serves me correctly maybe some personal bank statements.

  There may have been some documents regarding my daughter. . . . Some documents

  from the Judicial Tenure Commission obviously not involving this case . . . . an

  inventory of some furnishings or something from my old law firm . . . . Some letters.

  Checkbook, I’m thinking a checkbook from old law firm . . . a money order . . . some

  case information from private practice . . . . Probably some W-2's, possibly some

  property information . . . because I had a time share, that probably would have been

  in there. So that’s all I can think of right now.” (James Dep. 52:8-53:11.) Plaintiff

  expressly testified that there were no court files or “financial information for the

  court” in her safe. (James Dep. 53:21-54:2.)

        Anderson submits that Plaintiff never described how any of the documents she

  maintains were in her safe were used against her or could have been exculpatory in her

  JTC proceedings. Plaintiff responds that “[t]hese personal financial documents would

  have assisted Plaintiff’s defense in the JTC proceedings inasmuch as the JTC alleged,

  among other things, that Plaintiff used certain court funds for personal travel.” (ECF


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  No. 140, Pl.’s Resp. 12, PgID 4499.) Plaintiff argues that because it is undisputed

  (and it is) that Washington and Nicole James did collect documents from Plaintiff’s

  office (in which the Sixth Circuit determined Plaintiff did not have a reasonable

  expectation of privacy) and because it is undisputed (and it is) that some documents

  (old registers of action and pleas) were shredded, this creates a genuine issue of

  material fact “as to whether some of the documents which were shredded came from

  Plaintiff’s safe.” (Pl.’s Resp. 13, PgID 4500.) But Plaintiff testified that she does not

  know if Anderson took documents from her safe and does not know if Anderson

  shredded any documents taken from her safe:

        Q: But you don’t have any evidence to contradict where [Anderson] says
        that she didn’t remove or destroy any documents from the safe?

                      *                    *                   *

        A: I know that she destroyed documents, and I know that exculpatory
        documents were missing and never returned.

        Q: Did those documents come from the safe?

        A: Which documents?

        Q: The exculpatory documents that were missing.

        A: I know that there are documents from the safe that were taken and
        never returned. Whether she ate them, shredded them, or what she did
        with them I don’t know.

        Q: Well, you’re now assuming that she’s the one who did something
        with them, and you don’t know that, right?

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        A: I don’t know who did it.

  (James Dep. 265:3-22.) Plaintiff admitted in her deposition that she has no evidence

  that Anderson broke into the safe, directed anyone to break into the safe, or ever

  possessed documents from the safe but testified that “it wouldn’t surprise her.”

  (James Dep. 257:11-258:9.) Plaintiff argues that “[r]egardless of whether Plaintiff can

  now specifically identify documents which were removed, Anderson testified under

  oath that she did in fact remove items from Plaintiff’s personal safe, and Plaintiff has

  identified the categories of documents store[d] in her safe.” (Pl.’s Resp. 12 n. 4, PgID

  4499.) Thus, Plaintiff admits that she cannot identify, other than by category, any

  specific documents that are missing and has produced no evidence or argument as to

  how those unidentified documents would have been exculpatory.

        In its January 7, 2015 Opinion and Order remanding this matter, the Sixth

  Circuit discussed Plaintiff’s allegations that some of the documents that were taken

  from her personal safe would have been exculpatory in her JTC proceedings, and

  noted the possibility that “personal financial documents could be considered

  exculpatory to charges of improper expenditures of court funds if the documents

  showed that [Plaintiff] had used personal funds for certain purchases.” 592 F. App’x

  at 459. While such allegations did suffice at the pleading stage, Plaintiff was required

  to come forward with evidence in response to Anderson’s motion for summary

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  judgment on which a reasonable juror could conclude that Anderson removed and

  destroyed documents from Plaintiff’s safe that would have been exculpatory in

  Plaintiff’s JTC proceedings without engaging in speculation and conjecture. But

  Plaintiff provides no such evidence, makes no such argument, and provides no

  evidence on which a reasonable juror could reach any conclusion regarding the

  exculpatory nature of any documents. Although the Sixth Circuit allowed this claim

  to move forward as alleged, Plaintiff has failed to come forward with evidence on

  which a juror could reasonably conclude, without speculation and conjecture, (1) that

  Anderson removed and failed to return any particular documents that were in

  Plaintiff’s safe, or (2) that any documents taken from her safe were destroyed or that

  they would have been exculpatory. Ms. Rynier, the JTC staff attorney who conducted

  the investigation into Plaintiff’s alleged misconduct, testified that she had no interest

  in what was in Plaintiff’s safe (Rynier Dep. 44:20-25) and Ms. Anderson testified that

  she placed the only document she took from Plaintiff’s safe back into the safe and did

  not give the JTC any documents from Plaintiff’s safe. In response to this evidence

  that no documents from Plaintiff’s safe were given to the JTC or removed and

  destroyed, Plaintiff was required to come forward with more than unsupported

  statements that of course that must have happened. She has not done so. The most

  she can say is that the document Anderson removed was “a tax document” and that


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  Schmucker told Washington to be on the lookout for 1099's. And as to the other

  categories of documents, such as personal credit card statements that may have

  demonstrated that Plaintiff used personal and not court funds for certain expenses,

  Plaintiff has completely failed to specifically identify any such documents or to

  explain what exculpatory charges may have been revealed by those unidentified

  documents. And Plaintiff admits that she never tried to obtain these allegedly critically

  important exculpatory documents through any other means, such as asking her

  accountants, banks, or credit card company for copies of these generally obtainable

  documents. (James Dep. 252:1-24, 254:1-6.)            A jury would be required to

  impermissibly speculate in order to tie this scant evidence together to arrive at the

  conclusion that Anderson removed documents from Plaintiff’s personal safe and that

  those documents would have been exculpatory in Plaintiff’s JTC proceedings.

        “To make out a genuine issue of material fact, plaintiff must present significant

  probative evidence tending to support her version of the facts, evidence on which a

  reasonable jury could return a verdict for her.” Chappell, 585 F.3d at 913. Plaintiff

  has failed to present sufficient evidence to permit a reasonable juror to conclude that

  any alleged search by Anderson of Plaintiff’s personal safe, even if it occurred,

  proximately caused Plaintiff’s injuries.




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        However, this is not necessarily the end of the matter. Although Plaintiff has

  not claimed them, nominal damages are generally available to vindicate the violation

  of constitutional rights that result in no actual damages. See Memphis Commun.

  School District v. Stachura, 477 U.S. 299, 308, 308 n. 11 (1986) (holding that “the

  abstract value of constitutional rights may not form the basis for § 1983 damages,” but

  observing that “nominal damages . . . are the appropriate means of ‘vindicating’ rights

  whose deprivation has not caused actual, provable injury”) (citing Carey v. Piphus,

  435 U.S. 247, 266 (1978)); Hill v. Ypsilanti Housing Commission, No. 09-13562,

  2010 WL 3168440, at *3 (E.D. Mich. Aug. 10, 2010) (holding that plaintiff may be

  entitled to nominal damages for a constitutional violation “regardless of proximate

  causation as to actual injury”). See also Stoedter v. Gates, 704 F. App’x 748, 757-58

  (10th Cir. 2017) (agreeing with the district court that “nominal damages are

  mandatory upon a finding of a constitutional violation,” and declining to distinguish

  among categories of constitutional rights).

        Here, however, because the Court concludes that there was not a constitutional

  violation, and even if there was, Anderson is entitled to qualified immunity, see infra

  discussion at Section IIID, even nominal damages are not available to this Plaintiff

  from this Defendant based upon an alleged unconstitutional search of Plaintiff’s safe.

  See Eaddy-Bey v. Gosslin, 860 F.2d 1078, at *1 n. 1 (6th Cir. 1988) (table case)


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  (noting that prison hearing officer who was granted qualified immunity “should have

  been immune from paying even nominal damages” but allowing the nominal damage

  award to stand because the hearing officer did not appeal); Bamdad v. Drug

  Enforcement Admin., 617 F. App’x 7, at *9 (D.C. Cir. Sept. 22, 2015) (Mem.)

  (observing that “‘[s]everal other circuits have also implicitly recognized the legal

  nature of nominal damages by finding them to be barred by qualified immunity.’ . .

  . [a]nd for good reason [because] [q]ualified immunity is an immunity from suit, not

  just remedial absolution.”) (alterations added) (quoting Hopkins v. Saunders, 199 F.3d

  968, 978 (8th Cir. 1999) (finding that both Eleventh Amendment and qualified

  immunity bar recovery of nominal damages in a § 1983 case); Reese v. Gray, No. 06-

  cv-126, 2011 WL 302873, at *13 (N.D. Miss. Jan. 27, 2011) (holding that finding of

  qualified immunity precludes an award of nominal damages) (collecting cases).

        Even assuming Plaintiff could establish that Anderson violated her Fourth

  Amendment rights, she could not establish proximate cause. Because Plaintiff cannot

  establish proximate cause, she would be entitled to at most nominal damages for any

  claimed violation of her Fourth Amendment rights by Anderson. But because

  Anderson would be entitled to qualified immunity if a constitutional violation were

  found, any claim for nominal damages would be legally barred.




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        D.     Even Were the Court to Find a Genuine Issue of Material Fact
               Regarding the Constitutionality of Anderson’s “Search” of the Safe,
               Anderson Would be Entitled to Qualified Immunity Because Any
               Right to Privacy in Plaintiff’s Unlocked and Open Safe Located in
               Plaintiff’s Office Was Not Clearly Established on the Facts Known
               to Anderson at the Time of the Alleged Search

        “The doctrine of qualified immunity protects government officials ‘from

  liability for civil damages insofar as their conduct does not violate clearly established

  statutory or constitutional rights of which a reasonable person would have known.’”

  Pearson v. Callahan, 555 U.S. 223, 231 (2009) (quoting Harlow v. Fitzgerald, 457

  U.S. 800, 818 (1982)). “In § 1983 constitutional torts like this one, qualified immunity

  prevents government officials from being held liable if (1) the officers did not violate

  any constitutional guarantees or (2) the guarantee, even if violated, was not ‘clearly

  established’ at the time of the alleged misconduct.” Arrington-Bey v. City of Bedford

  Heights, Ohio, 858 F.3d 988, 992 (6th Cir. 2017), rehearing en banc denied (July 5,

  2017), certiorari denied 138 S. Ct. 738 (Jan. 16, 2018) (citing Pearson, 555 U.S. at

  232. Courts may “exercise their sound discretion in deciding which of the two prongs

  of the qualified immunity analysis should be addressed first in light of the

  circumstances in the particular case at hand.” Pearson, 555 U.S. at 236.

        ““When . . . a defendant raises qualified immunity as a defense . . . [t]he

  plaintiff has the burden of showing that a right is clearly established . . . [and] the

  defendant carries the burden of showing that the challenged act was objectively
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  reasonable in light of the law existing at the time. In satisfying this burden, a

  defendant can rely on a reasonable mistake of fact, for [q]ualified immunity applies

  irrespective of whether the official’s error was a mistake of law or a mistake of fact,

  or a mistake based on mixed questions of law and fact.” Harris v. Klare, 902 F.3d

  630, 637 (6th Cir. 2018) (internal quotation marks and citations omitted) (ellipses and

  alterations in original).

         “The Supreme Court ‘do[es] not require a case directly on point’ before

  concluding that the law is clearly established, ‘but existing precedent must have

  placed the statutory or constitutional question beyond debate.’” Kent v. Oakland Cty.,

  810 F.3d 384, 395 (6th Cir. 2016) (quoting Stanton v. Sims, 134 S. Ct. 3, 5 (2013)).

  The inquiry requires the plaintiff to point to “controlling authority” or “a robust

  consensus of cases of persuasive authority” in order to show that the right was clearly

  established. Hidden Village, LLC v. City of Lakewood, Ohio, 734 F.3d 519, 529 (6th

  Cir. 2013).

         The Sixth Circuit has summarized a plaintiff’s obligation to identify cases with

  similar fact patterns in demonstrating the “clearly established” prong:

         “[C]learly established law” may not be defined at such “a high level of
         generality.” Ashcroft v. al-Kidd, 563 U.S. 731, 742, 131 S.Ct. 2074, 179
         L.Ed.2d 1149 (2011). It must be more “particularized” than that.
         Anderson v. Creighton, 483 U.S. 635, 640, 107 S.Ct. 3034, 97 L.Ed.2d
         523 (1987); see Hagans v. Franklin Cty. Sheriff's Office, 695 F.3d 505,
         508–09 (6th Cir. 2012). The Supreme Court recently reminded us that a

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        plaintiff must identify a case with a similar fact pattern that would have
        given “fair and clear warning to officers” about what the law requires.
        White v. Pauly, ––– U.S. ––––, 137 S.Ct. 548, 552, 196 L.Ed.2d 463
        (2017) (quotation omitted). The district court, we note, did not have the
        benefit of Pauly. But we do, and accordingly we must follow its lead.
        Immunity protects “all but the plainly incompetent or those who
        knowingly violate the law.” Id. at 551 (quotation omitted). The
        “dispositive inquiry . . . is whether it would be clear to a reasonable
        officer that his conduct was unlawful in the situation he confronted.”
        Saucier v. Katz, 533 U.S. 194, 202, 121 S.Ct. 2151, 150 L.Ed.2d 272
        (2001).

  Arrington-Bey, 858 F.3d at 992-93.

        Here, Plaintiff fails both prongs. The Court has already determined that

  Plaintiff has failed to present a genuine issue of material fact on her claim that

  Anderson violated her Fourth Amendment rights. “By definition, if [Anderson] did

  not violate a constitutional right, [s]he did not violate a constitutional right that is

  clearly established.” Taylor, 502 F.3d at 458. “[T]here being insufficient evidence of

  a constitutional violation, defendants, in effect, have no need of qualified immunity

  and are actually entitled to summary judgment as matter of law.” Chappell, 585 F.3d

  at 916.

        But even if the Court had found an issue of fact on the first prong, and found

  that a reasonable juror could conclude that Anderson had violated Plaintiff’s Fourth

  Amendment rights, Plaintiff has failed to establish that “[t]he contours of [the] right”

  at the time of the alleged unconstitutional search were “‘sufficiently clear’ that every


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  ‘reasonable official would have understood that what he is doing violates that right.’”

  Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011) (first alteration in original) (quoting

  Anderson v. Creighton, 483 U.S. 635, 640 (1987)). “[T]to determine whether a

  government official would believe that a right is clearly established,” the court applies

  an “objective reasonableness test [that] focuses on whether an official, given the facts

  that the official knew or reasonably should have known about the situation, should

  have known that his or her particular conduct would not pass scrutiny when applied

  to the law.” Sandul v. Larion, 119 F.3d 1250, 1254 (6th Cir. 1997) (internal quotation

  marks and citations omitted).

        Plaintiff has failed to point to “clearly established” law, i.e. Sixth Circuit or

  Supreme Court precedent, or a “robust consensus of cases,” that would have put

  Anderson, the court administrator generally charged with maintaining court records

  and specifically tasked with collecting documents relating to Plaintiff’s alleged

  misconduct from the 22nd District Court files, on notice that she should not reach into

  an open, unlocked safe within the Plaintiff’s office at the request of her supervisor

  (Judge Washington) to examine documents that may have been work-related or

  pertinent to the investigation.

        The Sixth Circuit’s determination that Plaintiff had stated a plausible Fourth

  Amendment claim as to the individual or individual(s) who opened her safe was


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  premised on the allegation that the safe was closed and locked when encountered by

  the violators, and also assumed that whoever conducted the search would have known

  of the private nature of the safe and its contents as a result of Plaintiff’s disclosure to

  Green regarding the privacy of her safe. The Sixth Circuit’s opinion explicitly noted

  that Plaintiff alleged that she had informed Green that her safe contained private

  information and had been assured by Green that her privacy in her safe would not be

  invaded. 592 F. App’x at 457.

        But, as discussed supra, there is no evidence to suggest that Anderson was

  aware either of the private nature of the Plaintiff’s safe or of Green’s alleged promise

  to protect Plaintiff’s privacy rights in the safe. In fact, as discussed supra, Anderson’s

  unrebutted testimony is that she had no such knowledge regarding who owned the safe

  that Plaintiff kept in her office, what Plaintiff kept in the safe, or whether Plaintiff

  kept that safe locked. And it is undisputed that no one, including the Plaintiff, ever

  told Anderson that Plaintiff had an expectation of privacy in her safe.

         While the 22nd District Court employees, including Anderson, had perhaps

  understood that Plaintiff did not allow free and open to access to her office during her

  tenure at the court, there was a search underway of Plaintiff’s office to collect

  documents and information potentially relevant to alleged workplace misconduct. The

  Sixth Circuit found that the office aspect of the search was reasonable under the


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  Fourth Amendment: “[It was not] unreasonable, given the context of the JTC

  investigation against her, to suspect her office to contain evidence of her work-related

  misconduct. Therefore, we conclude that the search of James's office was reasonable

  at its inception.” 592 F. App’x at 458. The Sixth Circuit drew a novel distinction

  between the Plaintiff’s office and the safe she kept in that office, which they found to

  lie outside the workplace context, based on the facts alleged and assumed to exist

  regarding the private nature of the safe: “The search of James's safe presents very

  different circumstances than these cases because she claims to have used the safe

  primarily for personal use. James purchased the safe herself, kept it locked, and used

  it to store personal items. James alleges that she did not authorize employer use or

  access; she used it exclusively. Specifically, James alleges that she and her attorney

  met with Defendant Green and informed her that the safe contained personal

  documents.” 592 F. App’x at 457 (emphasis added). And when examining the scope

  of the search (having assumed arguendo that the safe did fall within the workplace

  context) the Sixth Circuit reiterated the significance of these allegations: “However,

  unlike in Jackson [v. City of Columbus, 194 F.3d 737 (6th Cir. 1999)], James alleges

  that a locked personal item—her safe—was also searched, and thus Jackson does not

  settle the question of whether the search was unreasonable in scope. As discussed

  above, James has alleged that she purchased the safe, maintained it for her personal


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  use, and kept it under lock and key.” 592 F. App’x at 459.

          It is undisputed that Defendant Anderson possessed none of this information

  when she allegedly removed documents from Plaintiff’s safe at Judge Washington’s

  suggestion. Plaintiff has provided the Court with no clearly established law that

  would have put Anderson, under the facts as relevant to her alleged misconduct, on

  notice that there was a constitutional distinction between Plaintiff’s office and

  Plaintiff’s open, unlocked safe, or between a locked filing cabinet that had been pried

  open (Gossmeyer) and a “jimmied open” safe. For purposes of qualified immunity,

  we must analyze Anderson’s conduct based on the facts known to her at the time of

  the alleged search and ask whether there was clearly established law that would have

  put her on notice that Plaintiff had a protectable privacy interest in the contents of her

  safe.

          The Sixth Circuit majority in this case turned to the Seventh Circuit’s opinion

  in Gossmeyer as “one of the few courts” having considered the application of

  O’Connor to the facts presented by Plaintiff’s allegations. And on the facts known

  to Anderson at the time of the search, a state court administrator would reasonably

  have interpreted Gossmeyer as teaching that the “search” of Plaintiff’s safe, even if

  it involved an obviously “jimmied open” safe, was permissible under the

  circumstances of the JTC investigation into the allegations of Plaintiff’s workplace


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  misconduct. Although Anderson testified that at the time she reached into the safe she

  was not thinking of aiding in the JTC investigation, she was called into Judge

  Washington’s office and alerted by him to the presence of “documents” in the safe.

  Anderson was the keeper of the records at the 22nd District Court and she was

  charged with maintaining court files. In addition, a search for documentary evidence

  of Plaintiff’s alleged misconduct was underway at the time of the alleged search and

  no clearly established law would have put Anderson on notice under the

   circumstances known to her that the documents in the safe were personal and beyond

  the scope of the work-related investigation.

        With respect to Defendant Anderson, the facts adduced in discovery have not

  borne out the facts alleged in the Complaint and relied upon by the Sixth Circuit in

  finding that Plaintiff had plausibly alleged a Fourth Amendment violation. Plaintiff

  has failed to create a genuine issue of material fact that Defendant Anderson violated

  her Fourth Amendment rights, nor was such a right clearly established. Anderson is

  entitled to summary judgment.




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  IV.   CONCLUSION

        For the foregoing reasons, the Court GRANTS Defendant Anderson’s motion

  for summary judgment and DISMISSES Plaintiff’s claims against Anderson in this

  action WITH PREJUDICE.

  IT IS SO ORDERED.



                                       s/Paul D. Borman
                                       PAUL D. BORMAN
                                       UNITED STATES DISTRICT JUDGE

  Dated: November 26, 2018



                           CERTIFICATE OF SERVICE

  The undersigned certifies that a copy of the foregoing order was served upon each
  attorney or party of record herein by electronic means or first class U.S. mail on
  November 26, 2018.


                                       s/Deborah Tofil
                                       Case Manager




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